           Case 2:20-cv-00187-SMJ                  ECF No. 61        filed 10/20/20        PageID.1237 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the_
                                                                                                               FILED IN THE
                                                     Eastern District of Washington                        U.S. DISTRICT COURT
                                                                                                     EASTERN DISTRICT OF WASHINGTON

             JAMES BLAIS and GAIL BLAIS,
                                                                                                       Oct 20, 2020
                                                                     )
                                                                                                          SEAN F. MCAVOY, CLERK
                             Plaintiffs                              )
                                v.                                   )       Civil Action No. 2:20-cv-00187-SMJ
  ROSS HUNTER, in his official capacity as Secretary of              )
   Washington State Department of Chilred, Youth and                 )
                      Families,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The Blaises' Amended Motion for Preliminary and Permanent Injunction, ECF No. 31, is GRANTED IN PART and
’
              DENIED IN PART as described in the Order filed at ECF No. 56; the Department is ENJOINED from using Policy
              6900, and any other Department policy or guidance inconsistent with the Order filed at ECF No. 56 against foster care
              license applicants; the Blaises' request for a mandatory injunction forcing the Department to issue them a license is
              DENIED; the Department's ruling denying the Blaises' application for a foster care license is VACATED; and this case is
              REMANDED to the Department for further proceedings consistent with the Order filed at ECF No. 56.
This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge          Salvador Mendoza Jr.                                               on a motion for
      Preliminary and Permanent Injuction (ECF No. 31).


Date: 10/20/2020                                                           CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Lee Reams
                                                                                          (By) Deputy Clerk

                                                                            Lee Reams
